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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                               CRIMINAL MINUTES - GENERAL




 Case No.         CR 17-325-GW                                                                   Date    September 16, 2021


 Present: The Honorable       GEORGE H. WU, UNITED STATES DISTRICT JUDGE
 Interpreter       NONE
           Javier Gonzalez                         Terri A. Hourigan                          Christopher C. Kendall
            Deputy Clerk                     Court Reporter/Recorder, Tape No.                    Assistant U.S. Attorney



                U.S.A. v. Defendant(s):            Present Cust. Bond            Attorneys for Defendants:       Present App. Ret.

Daniel Edward Nersoyan (CITATION)                    U                    Michael S. Devereaux                        U                U
 Proceedings:           PRELIMINARY REVOCATION OF SUPERVISED RELEASE


U.S. Probation Officer Helen Zaytseva is also present.

Court confers with the parties. The Defendant has been advised of the 15-count allegations contained in the
Petitions on Probation and Supervised Release filed April 12, 2021, June 18, 2021 and August 31, 2021.

For reasons stated on the record, the Court places Defendant into custody pending resolution of these matters.
Defendant’s revocation will be placed on calendar once his pending warrants in state court are resolved.

Defendant is remanded into custody. Issued No. D 9947.




                                                                                                                  :         25

                                                                      Initials of Deputy Clerk     JG
cc:



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